             Case 2:22-cv-01279-RFB-VCF Document 45 Filed 10/05/23 Page 1 of 3




 1   Christopher E. Martin
     Ian J. Kellogg
 2   Securities and Exchange Commission
 3   1961 Stout Street, Suite 1700
     Denver, Colorado 80294
 4   (303) 844-1000
 5   martinc@sec.gov
     kelloggi@sec.gov
 6
 7   Counsel for Plaintiff Securities and Exchange Commission

 8                                   UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA

10
       UNITED STATES SECURITIES AND                           Case No. 22-CV-01279-RFB-VCF _____
11     EXCHANGE COMMISSION,

12                Plaintiff,                                  MOTION TO WITHDRAW

13     v.

14     ALPINE SECURITIES CORPORATION,
       CHRISTOPHER DOUBECK, and
15     JOSEPH WALSH,

16            Defendants.

17
             Christopher E. Martin, as attorney for Plaintiff United States Securities and Exchange
18
     Commission (“SEC”), respectfully requests to withdraw as counsel for the SEC in above-captioned
19
     case:
20
             1.        Mr. Martin has been reassigned to work on different matters on behalf of the SEC
21
     and a new counsel for the SEC, James P. McDonald, has made a Motion to Permit Appearance of
22
     Government Attorney. See Docket Number 44.
23
             2.        In addition, to Mr. McDonald, attorney Ian J. Kellogg will remain as counsel for the
24
     SEC.
25
             3.        No parties will be prejudiced by the request herein and there will be no delay caused.
26
             WHEREFORE, Mr. Martin requests that the Court allow him to withdraw as an attorney of
27
     record in this case. A proposed Order is included herewith.
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          Case 2:22-cv-01279-RFB-VCF Document 45 Filed 10/05/23 Page 2 of 3




 1
 2   Dated: October 5, 2023
                                               Respectfully Submitted,
 3
 4                                             s/ Christopher Martin
                                               Christopher Martin
 5                                             Ian J. Kellogg
                                               James P. McDonald
 6                                             Securities and Exchange Commission
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11
                                               Counsel for Plaintiff
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            Case 2:22-cv-01279-RFB-VCF Document 45 Filed 10/05/23 Page 3 of 3




 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2
 3     UNITED STATES SECURITIES AND                       Case No. 22-CV-01279-RFB-VCF _______
       EXCHANGE COMMISSION,
 4
               Plaintiff,                                 [PROPOSED] ORDER GRANTING
 5                                                        MOTION TO WITHDRAW
       v.
 6
       ALPINE SECURITIES CORPORATION,
 7     CHRISTOPHER DOUBECK, and
       JOSEPH WALSH,
 8
              Defendants.
 9
10          The Court has considered the Motion filed by Plaintiff the United States Securities and
11   Exchange Commission (“SEC”), an agency of the United States, for permission to allow the
12   withdrawal of attorney Christopher E. Martin from the case.
13          IT IS HEREBY ORDERED that the motion is granted. Mr. Martin is hereby withdrawn as
14   counsel for the SEC in this matter.
15
16   Dated: ____________________                                BY THE COURT
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18                                                              ____________________________
19                                                              United States District Judge
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